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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                       )
                                                )                8:13CR220
                      Plaintiff,                )
                                                )
         vs.                                    )                  ORDER
                                                )
ELIODORO CABRERA, JR.,                          )
                                                )
                      Defendant.                )
         This matter is before the court on the motion for an extension of time by defendant
Eliodoro Cabrera (Cabrera) (Filing No. 55). Cabrera seeks until October 21, 2013, in which
to file pretrial motions in accordance with the progression order.        Cabrera's counsel
represents that government's counsel has no objection to the motion. Upon consideration,
the motion will be granted. However, Cabrera shall file his affidavit in accordance with
NECrimR 12.1(a) and paragraph 9 of the Progression Order within seven working days of this
order.


         IT IS ORDERED:
         Defendant Cabrera's motion for an extension of time (Filing No. 55) is granted.
Cabrera is given until on or before October 21, 2013, in which to file pretrial motions
pursuant to the progression order. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
September 18, 2013, and October 21, 2013, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason defendant's
counsel requires additional time to adequately prepare the case, taking into consideration due
diligence of counsel, and the novelty and complexity of this case. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


         DATED this 18th day of September, 2013.
                                                    BY THE COURT:

                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
